IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

AT GREENEVILLE

TIMOTHY R. ROBINETTE,
No.: 2:15-CV-273

§
§
Plaintiff, § Jury Demand
§
§
§
NORFOLK SOUTHERN RAILWAY §
COMPANY, §
§
Defendant. §

STIPULATION OF DISMISSAL

Pursuant to Rule 41(a)(1)(ii), comes the Plaintiff, and by agreement with counsel for the
Defendant, stipulates a dismissal of his action against the Defendant.

It is further understood and agreed by all parties that this Stipulation of Dismissal,
dismisses this case against the Defendant, with each party to bear their own discretionary costs.

ENTER this day of , 2016.

The Honorable Clifton L. Corker
United States District Court Judge

APPROVED FOR ENTRY:
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